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                       IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                 CINCINNATI DIVISION

In Re:                                               CASE NO. 17-12377

JAMES M. LISTER                                      Chapter 13
AMY F. LISTER
                                                     Judge Beth A. Buchanan
                                          Debtors
                                                     OBJECTION TO CHAPTER 13 PLAN

         Creditor, U.S. Bank Trust, N.A., as Trustee for LSF9 Master Participation Trust
(“Creditor”), by and through counsel, hereby objects to the proposed Chapter 13 Plan filed by the
Debtor. This Objection is hereby supported by the following Memorandum.

                                                  Respectfully Submitted

                                                    /s/ Steven H. Patterson
                                                  Steven H. Patterson (0073452)
                                                  Attorney for Creditor
                                                  Reisenfeld & Associates, LPA LLC
                                                  3962 Red Bank Road
                                                  Cincinnati, OH 45227
                                                  voice: (513) 322-7000
                                                  facsimile: (513) 322-7099
                                                  e-mail: ohbk@rslegal.com


                                        MEMORANDUM

         Creditor holds a Mortgage on the real estate located at 10038 State Route 775, Scottown,
OH 45678. Creditor has not yet filed a Proof of Claim, however anticipates doing so listing an
arrearage of $54,141.16. Debtors' Plan is attempting to cram down the mortgage, which the
Debtors are not entitled to do. The subject property is Debtors' primary residence and Debtors
cannot change the amount owed, interest rate, or other terms of a first mortgage. (11 U.S.C.
1322(b)(2))

         The Chapter 13 Plan as proposed herein does not adequately protect the Creditors' interest
in said real estate.
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       WHEREFORE, Creditor requests that confirmation be denied.

                                               /s/ Steven H. Patterson
                                                Steven H. Patterson (0073452)
                                                Attorney for Creditor
                                                Reisenfeld & Associates, LPA LLC
                                                3962 Red Bank Road
                                                Cincinnati, OH 45227
                                                voice: (513) 322-7000
                                                facsimile: (513) 322-7099
                                                e-mail: ohbk@rslegal.com


                                 CERTIFICATE OF SERVICE

       I certify that on September 11      , 2017, a true and correct copy of the Objection to
Plan was served:

Via the court's Electronic Case Filing System on these entities and individuals who are
listed on the court's Electronic Mail Notice List:

       Nicholas A. Zingarelli, Debtor`s Counsel
       nick@zingarellilaw.com

       Margaret A. Burks, Bankruptcy Trustee
       Cincinnati@cinn13.org

       U.S. Trustee
       (Registered Address)@usdoj.gov

And by regular U.S. Mail, postage prepaid on:

       James M. Lister, Debtor
       10038 St. Rt. 775
       Scottown, OH 45678

       Amy F. Lister, Debtor
       10038 St. Rt. 775
       Scottown, OH 45678
                                                   /s/ Steven H. Patterson
                                                   Steven H. Patterson (0073452)
                                                   Attorney for Creditor
